                                                           Case 8:19-bk-03039-RCT           FORM
                                                                                             Doc 138 Filed 07/24/19                                Page 1 of 1                     Page No:     1
                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                         ASSET CASES

Case No.:                        19-03039                                                                                                               Trustee Name:                           Beth Ann Scharrer
Case Name:                       MARIN, RODOLFO                                                                                                         Date Filed (f) or Converted (c):        04/03/2019 (f)
For the Period Ending:           06/30/2019                                                                                                             §341(a) Meeting Date:                   05/09/2019
                                                                                                                                                        Claims Bar Date:                        09/23/2019
                                    1                                                  2                              3                           4                        5                                        6

                       Asset Description                                         Petition/                   Estimated Net Value               Property              Sales/Funds               Asset Fully Administered (FA)/
                        (Scheduled and                                         Unscheduled                  (Value Determined by               Abandoned             Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                      Value                            Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                                           Less Liens, Exemptions,
                                                                                                              and Other Costs)

Ref. #
1        5107 N. Shade Ave, Sarasota, FL                                               $7,500.00                                 $0.00                                          $0.00                                           FA
Asset Notes:       Total amount of trust - $500K. Scheduled value is Debtor's portion.
2        6987 74th St. Cir. E., Bradenton, FL                                        $426,288.00                                 $0.00                                          $0.00                                   $426,288.00
3        2016 Jeep Wrangler, 42K miles                                                $30,000.00                                 $0.00                                          $0.00                                           FA
4        boat hull - no engine                                                         $1,000.00                             $1,000.00                                          $0.00                                     $1,000.00
5        Wearing apparel                                                                 $500.00                              $500.00                                           $0.00                                           FA
Asset Notes:       No value for estate.
6        Chase Bank Account                                                            $7,922.40                             $6,922.40                                          $0.00                                     $7,922.40


TOTALS (Excluding unknown value)                                                                                                                                                                    Gross Value of Remaining Assets
                                                                                    $473,210.40                              $8,422.40                                           $0.00                                  $435,210.40



Major Activities affecting case closing:
 07/01/2019      did D send bank stmts for April 2019? Sent request 7/1
 06/03/2019      Employing atty to assist with sale of non-homestead real estate.


Initial Projected Date Of Final Report (TFR):            04/15/2020                               Current Projected Date Of Final Report (TFR):                                /s/ BETH ANN SCHARRER
                                                                                                                                                                               BETH ANN SCHARRER
